Case 15-18750-amc         Doc 25    Filed 09/27/16 Entered 09/27/16 09:09:28           Desc Main
                                    Document     Page 1 of 2


                       UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


In re:                                        :                                    DATE: 10/25/2016
         ANTHONY M. KOPICZ                    : Chapter 13                         TIME: 9:30 A.M.
                                              :                                    COURTROOM #1
                       Debtor                 :Bankruptcy No. 15-18750 REF         THE MADISON
                                              :                                    400 WASHINGTON
                                              :                                    READING, PA 19601


      DEBTOR’S MOTION TO VACATE ORDER GRANTING GARDEN STATE
     VENTURES, LLC, RELIEF FROM THE AUTOMATIC STAY WITH REGARD
              TO 4090 PAINTED SKY ROAD, READING, PA 19606

         Anthony M. Kopicz, the above Debtor, by and through his attorney, David S. Gellert,

Esquire, of David S. Gellert, P. C., files his Motion to vacate this Court’s September 8, 2016

Order granting Garden State Ventures, LLC, relief from the automatic stay and in support

thereof states the following:

         1. On September 8, 2016, this Court entered its Order granting relief to Garden State

Ventures, LLC (“Garden State”).

         2. At the time the Motion was filed, the Debtor had requested a hardship withdrawal

from his 401(k) to provide the necessary funds to bring his account with Garden State current.

         3. The process to obtain these funds was longer than anticipated such that Debtor’s

counsel could not provide Garden State counsel with an exact timetable for receipt of these funds

thereby resulting in the Order for Relief being granted.

         4. Debtor now has the funds necessary to bring the account current. Debtor’s counsel

has requested that Garden State counsel provide the exact sum necessary.
Case 15-18750-amc        Doc 25    Filed 09/27/16 Entered 09/27/16 09:09:28           Desc Main
                                   Document     Page 2 of 2




         WHEREFORE, the Debtor requests that this Court enter its Order similar to the form

attached hereto vacating the Order for relief entered by this Court on September 8, 2016



Dated:    September 27, 2016                          s/ David S. Gellert
                                                    David S. Gellert, Esquire
                                                    I.D. No. 32294
                                                    David S. Gellert, P.C.
                                                    3506 Perkiomen Avenue
                                                    Reading, PA 19606
                                                    (610) 779-8000
                                                    Fax: (610) 370-1393
